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   7
   8
                                 UNITED STATES DISTRICT COURT
   9
                             CENTRAL DISTRICT OF CALIFORNIA
  10
                                      WESTERN DIVISION
  11
  12
       SNOW JOE, LLC,                         Case No.: 2:20-cv-00587 RSWL (RAOx)
  13
                    Plaintiff,                 MEMORANDUM OF POINTS AND
  14                                           AUTHORITIES IN SUPPORT OF
                        v.                     MOTION FOR CONTEMPT AND
  15                                           ENFORCEMENT OF
       LINEMART INC., et al.                   SETTLEMENT
  16
                   Defendants.                 Hearing Date: May 31, 2022
  17                                           Time:         10:00 A.M.
                                               Courtroom: TBD
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  19                                           Judge: Hon. Ronald S.W. Lew
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                     MEMORANDUM OF POINTS AND AUTHORITIES
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   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2                               I.     INTRODUCTION
   3         Plaintiff Snow Joe, LLC, respectfully requests entry of an order holding
   4   Defendants Linemart, Inc.; Linemart NJ, Inc.; Shenzhen Sailvan Network
   5   Technology Ltd.; and Shenzhen Sailvan Ecommerce Co., Ltd., in contempt for
   6   violating a specific and definite provision within the Court’s Amended
   7   Permanent Injunction Order dated February 18, 2022 [ECF Dkt. 54] by engaging
   8   in the same type of Pounds Per Square Inch (“PSI”) false advertising in
   9   connection with electric pressure washers that prompted the filing of this action
  10   by Plaintiff over two years ago.
  11         Pursuant to the Court’s Amended Permanent Injunction Order, Defendants
  12   were restrained and enjoined from using in commerce any false or misleading
  13   description of fact or false or misleading representation of fact which
  14   mispresents the PSI achievable by electric pressure washers manufactured, sold,
  15   or advertised by any of the Defendants including, but not limited to, those
  16   currently or at any point in the past or future branded as HOMDOX®,
                                                                      1
  17   HOMDOX™, MRLIANCE, SUYNCLL, or TEANDE                              . Despite this
  18   unambiguous prohibition, clear and convincing evidence confirms that
  19   Defendants continue to falsely misrepresent the PSI achievable by Homdox
  20   electric pressure washers advertised for sale and sold in commerce through
  21   Amazon.com.
  22         In addition, Plaintiff seeks an order from the Court enforcing the terms of
  23   the Settlement Agreement and the Amended Settlement Agreement reached
  24   between the parties given the Court’s express retention of continuing jurisdiction
  25   to enforce any breach of these agreements in both the Permanent Injunction and
  26   Amended Permanent Injunction Orders. Specifically, Plaintiff seeks to force
  27
  28   1
         The Court’s initial Permanent Injunction Order, dated November 17, 2021, was
       limited to HOMDOX-branded electric pressure washers [ECF Dkt. 49].
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   1   Defendants to comply with their agreed obligation to retain a mutually agreeable
   2   third-party monitoring service to monitor and remove online listings for
   3   HOMDOX, MRLIANCE, SUYNCLL, or TEANDE branded electric pressure
   4   washers containing false PSI claims.
   5         Plaintiff’s patience and the parties’ joint efforts to resolve this issue
   6   informally have been exhausted. Plaintiff has given Defendants more than five
   7   months since the signing of the Settlement Agreement and the Court’s entry of
   8   the initial Permanent Injunction to comply, but at the time of the filing of this
   9   Motion, Amazon.com remains littered with listings by Defendants for their
  10   falsely advertised pressure washers. Indeed, Plaintiff’s counsel purchased a
  11   falsely advertised Homdox pressure washer from Defendants for the purpose of
  12   this Motion. Defendants have failed to comply with this Court’s two permanent
  13   injunction orders and their obligations in the settlement agreements.
  14                    II.    SUMMARY OF RELEVANT FACTS
  15         A.     Procedural and Settlement History
  16         Plaintiff Snow Joe, LLC (“Plaintiff”), filed the initial Complaint in the
  17   instant case against Defendants Linemart, Inc.; Linemart NJ, Inc.; Shenzhen
  18   Sailvan Network Technology Ltd.; and Shenzhen Sailvan Ecommerce Co., Ltd.
  19   (“Defendants”) on January 21, 2020. The Complaint asserted claims against
  20   Defendants for direct and contributory false advertising under 15 U.S.C.
  21   1125(a)(1)(B), unfair business practices, and unfair competition under California
  22   law. As a direct competitor in the electric pressure washer market, Plaintiff
  23   brought suit against Defendants to stop them from making literally false
  24   statements of fact concerning the ridiculously high PSI that HOMDOX-branded
  25   pressure washer can generate in commercial advertising, on labels affixed to each
  26   product, and within instruction manuals distributed with each product. Plaintiff
  27   further claimed that Defendants made false statements of fact that each
  28   HOMDOX-branded pressure washers adhered to and passed the testing,
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   1   inspection and certification requirements of the European Conformity (“CE”) for
   2   electrical safety standards.
   3         On November 7, 2021, Plaintiff and Defendants entered into a Settlement
   4   Agreement (the “Original Agreement”) to resolve Plaintiff’s claims against
   5   Defendants relating to HOMDOX-branded electric pressure washers. See
   6   Declaration of Christopher Q. Pham (“Pham Decl.”) at ¶2, and Exhibit 1, thereto.
   7   Pursuant to the Original Agreement, the parties filed a stipulation and [proposed]
   8   permanent injunction against Defendants with the Court. On November 17, 2021,
   9   the Court entered a Permanent Injunction Order against Defendants pursuant to
  10   the parties’ stipulation [ECF Dkt. 49].
  11         On December 20, 2021, Plaintiff sent Defendants a formal notice of breach
  12   of the Original Agreement stemming from Defendants’ failures to timely provide
  13   an affidavit or declaration to Plaintiff, pursuant to paragraph 3.b., identifying with
  14   specificity the pressure washers Defendants sold in the U.S. and, pursuant to
  15   paragraph 3.e., to timely retain a third-party monitoring service and provide proof
  16   of the same. See Declaration of Marcus F. Chaney (“Chaney Decl.”) at ¶2, and
  17   Exhibit 5, thereto.
  18         Subsequently, Plaintiff and Defendants entered into an Amended
  19   Settlement Agreement (the “Amended Agreement”) on February 17, 2022,
  20   expanding the scope of the Original Agreement to include not only HOMDOX-
  21   branded electric pressure washers but also MRLIANCE-, SUYNCLL-, and
  22   TEANDE-branded electric pressure washers.          The Amended Agreement also
  23   contained a provision allowing for the recovery of attorneys’ fees and costs for
  24   the enforcement of the agreement. See Pham Decl. at ¶3, and Exhibit 2, thereto.
  25         Pursuant to the Amended Agreement, the parties filed a stipulation and
  26   [proposed] amended order with the Court to amend the prior Permanent
  27   Injunction Order against Defendants. On February 18, 2022, the Court entered
  28   the subject Amended Permanent Injunction Order against Defendants pursuant to
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   1   the parties’ stipulation [ECF Dkt. 54].
   2         On February 28, 2022, Plaintiff sent Defendants another formal notice of
   3   breach of the Original Agreement reiterating Defendants’ failures to timely
   4   provide an affidavit or declaration to Plaintiff pursuant to paragraph 3.b., and to
   5   timely retain a third-party monitoring service and provide proof of same pursuant
   6   to paragraph 3.e. See Chaney Decl. at ¶3, and Exhibit 6, thereto. Since this
   7   second notice, the parties have exhaustively engaged in numerous meet and
   8   confer sessions on March 11 and 21, and again on April 13 and 27, 2022, in order
   9   to resolve this dispute prior to the filing of this Motion. See Pham Decl. at ¶¶6-7.
  10         B.     Partial Compliance with the Original Agreement and
  11                the Amended Agreement by Defendants
  12                1.    The Affidavit or Declaration Requirement
  13         On February 28, 2022, Defendants provided the declaration of Yong Shuai,
  14   Chief Operating Officer for Defendants, pursuant to paragraph 3.b. of the
  15   Original Agreement, and paragraph 3. of the Amended Agreement. See Pham
  16   Decl. at ¶4, and Exhibit 3, thereto. In spreadsheets affixed to Yong Shuai’s
  17   declaration and referenced therein as an attached chart, he identified all electric
  18   pressure washers sold and marketed by Defendants; all model numbers for
  19   electric pressure washers sold or distributed by Defendants in the United States
  20   within the past 60 days; and all Amazon Standard Identification Numbers (ASINs)
  21   and Standard Product Units (SPUs) for each brand of model of electric pressure
  22   washers sold or distributed by Defendants in the United States within the past 60
  23   days. See Pham Decl. at ¶4, and Exhibit 3, thereto.
  24         As related specifically to Homdox pressure washers, Yong Shuai identified
  25   six (6) model numbers:      PD0001, PD0002, PD0004, PD0005, PD0007, and
  26   PD0009. In addition, Yong Shuai identified numerous Amazon accounts used to
  27   advertise for sale Homdox pressure washers, including but not limited to accounts
  28   under the names “carmer”, “Homdox”, “Kioles”, “Luckdeal”, “maznde”,
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   1   “oelenge”, “Qiohone”, and “rendio1,” along with the corresponding Homdox
   2   model number sold under each account, by ASIN, with links to Amazon.com
   3   listings for same. See Pham Decl. at ¶4, and Exhibit 3, thereto.
   4                 2.   The Third-Party PSI Testing Requirement
   5         On April 11, 2022, Defendants provided Plaintiff with a copy of a Product
   6   Evaluation report dated March 31, 2022, evidencing the testing on five (5) models
   7   of Homdox pressure washers by Bureau Veritas Consumer Product Service, Inc.
   8   (“BV”) pursuant to paragraph 3.a. of the Original Agreement. See Pham Decl. at
   9   ¶5, and Exhibit 4, thereto. Defendants did not submit these five models of
  10   Homdox pressure washer for testing until February 28, 2022. See Pham Decl. at
  11   ¶5, and Exhibit 4, thereto.
  12         Pursuant to paragraphs 3.a. and 3.c. of the Original Agreement, this BV
  13   testing report provides the basis for Defendants to identify the Rated PSI and
  14   Maximum PSI on labels affixed to product packaging and on the product itself for
  15   these five models of Homdox pressure washers if advertised for sale and sold in
  16   the United States. Of utmost importance, the “Highest Allowable Claim” for PSI
  17   for these five Homdox models tested by BV was only 1300 PSI, as opposed to the
  18   2000 to 3500 PSI routinely claimed by Defendants.
  19                 3.   The Third-Party Monitor Requirement
  20         As of this writing, Defendants have still not complied with their contractual
  21   obligation under paragraph 3.e. of the Original Agreement and paragraph 3. of the
  22   Amended Agreement to retain a third-party monitor to monitor and remove online
  23   advertising listings for Defendants’ HOMDOX, MRLIANCE, SUYNCLL, and
  24   TEANDE pressure washers if those listings contain PSI ratings that are
  25   inconsistent with testing results conducted on the pressure washer models being
  26   advertised.
  27         This agreed upon obligation is crucial to putting an end to false PSI claims
  28   made online in relation to Defendants’ pressure washers when advertised not only
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    1   by Defendants (since Defendants have control over the listing content in their
    2   own listings) but also by third parties whose listing content is not within the
    3   immediate control of Defendants. Since Defendants have yet to present any
    4   evidence that they are taking any affirmative action themselves to take down their
    5   own false advertisings, or the false advertising of their pressure washers by
    6   others, the parties intended for this independent third-party monitoring and
    7   takedown agent to police Defendants’ activities and protect Plaintiff’s rights. The
    8   third-party monitor requirements give Defendants the control they need over
    9   these listings to identify and remove listings for their pressure washers when false
   10   PSI claims are used.
   11         C.     Terms of the Permanent Injunction and Amended Permanent
   12   Injunction Orders
   13         The Court’s Permanent Injunction Order against Defendants dated
   14   November 17, 2021, as stipulated to by the parties, is clear:
   15
   16                “1.   PERMANENT INJUNCTION.                    Defendants are
   17         hereby restrained and enjoined, pursuant to 15 United States Code
   18         (‘U.S.C.’) § 1116(a), from engaging in, directly or indirectly, or
   19         authorizing or assisting any third-party to engage in, any of the
   20         following activities in the United States:
   21                      i.     using in commerce any false or misleading
   22         description of fact or false or misleading representation of fact which
   23         mispresents [sic] the Pounds Per Square Inch (‘PSI’) achievable by
   24         Defendants HOMDOX-branded electric pressure washers;” [ECF
   25         Dkt. 49].
   26
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    1         The Court’s Amended Permanent Injunction Order against Defendants
    2   dated February 18, 2022, as stipulated to by the parties, is equally as clear:
    3
    4                “1.    PERMANENT INJUNCTION.                    Defendants are
    5         hereby restrained and enjoined, pursuant to 15 United States Code
    6         (‘U.S.C.’) § 1116(a), from engaging in, directly or indirectly, or
    7         authorizing or assisting any third-party to engage in, any of the
    8         following activities in the United States:
    9                       i.    using in commerce any false or misleading
   10         description of fact or false or misleading representation of fact which
   11         mispresents [sic] the Pounds Per Square Inch (‘PSI’) achievable by
   12         electric pressure washers manufactured, sold, or advertised by any of
   13         the Defendants including, but not limited to, those currently or at any
   14         point in the past or future branded as HOMDOX®, HOMDOX™,
   15         MRLIANCE, SUYNCLL, or TEANDE (collectively, the ‘Pressure
   16         Washers’);” [ECF Dkt. 54].
   17
   18         D.     Defendants’ Contemptuously Advertise for Sale, Sell, and
   19                Distribute Homdox Pressure Washers with PSI Ratings that
   20                are Grossly Inconsistent with Independent Third-Party PSI Test
   21                Results
   22         Defendants were obligated to comply with the terms of the Court’s
   23   Permanent Injunction Order as related to HOMDOX-branded pressure washers
   24   effective November 17, 2021, and with the terms of the Court’s Amended
   25   Permanent Injunction Order as related to HOMDOX, MRLIANCE, SUYNCLL,
   26   and TEANDE electric pressure washers effective February 18, 2022.
   27         In addition, commencing on the November 7, 2021, effective date of the
   28   Original Agreement between the parties, Defendants were obligated to submit all
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    1   pressure washers to be offered for sale, sold or distributed within the United
    2   States to PSI testing conducted by Bureau Veritas or any other U.S. based
    3   independent testing facility/laboratory mutually agreed upon by the parties, and to
    4   provide Plaintiff with copies of any testing reports conducted no more than
    5   twenty (20) calendar days after the testing report is received for products already
    6   on the market. See Pham Decl. at ¶2, and Exhibit 1, thereto.
    7         On March 10, 2022, Plaintiff captured evidence of Homdox pressure
    8   washers being advertised for sale by Defendants on Amazon.com under the
    9   account names “Oelenge”, “Qiohone”, and “rendio1”. See Sowers Decl. at ¶3.
   10   The Declaration of Yong Shuai confirms that these account names are used by
   11   Defendants on Amazon.com. See Pham Decl. at ¶4, and Exhibit 3, thereto. The
   12   Homdox pressure washer advertised for sale by Defendants on Amazon.com
   13   under the account name Oelenge, with ASIN B0861FK59Q, had an advertised
   14   Maximum Pressure of 2500 Pound per Square Inch. See Sowers Decl. at ¶3, and
   15   Exhibit 7, thereto. The Homdox pressure washer advertised for sale by
   16   Defendants on Amazon.com under the account name Qiohone, with ASIN
   17   B08W1N9H6P, had an advertised Maximum Pressure of 2950 Pound per Square
   18   Inch. See Sowers Decl. at ¶3, and Exhibit 8, thereto. And, the Homdox pressure
   19   washer advertised for sale by Defendants on Amazon.com under the account
   20   name rendio1, with ASIN B08HVWPFR8, had an advertised Maximum Pressure
   21   of 3500 Pound per Square Inch. See Sowers Decl. at ¶3, and Exhibit 9, thereto2.
   22         Defendants did not submit any Homdox pressure washers for testing until
   23   February 28, 2022, and the testing results were not completed until March 31,
   24   2022. See Pham Decl. at ¶5, and Exhibit 4, thereto. As such, any Homdox
   25
   26
        2
         Defendants identified the same ASINs for Homdox pressure washer model
   27   numbers PD002, PD005, and PD009 sold by Defendants under the Amazon
        account names Oelenge, Qiohone, and rendio1 in the Declaration of Yong Shuai.
   28   See Pham Decl. at ¶4, and Exhibit 3, thereto (yellow highlight added to exhibit
        for emphasis).
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    1   pressure washers advertised for sale by Defendants with a claim made as to the
    2   achievable PSI prior to March 31st was done so without any testing verification.
    3   The claimed rated and tested PSI for the Homdox pressure washers submitted to
    4   BV for testing by Defendants, by model number, were as follows:
    5
                     Brand        Product SKU #      Highest Allowable Claim
    6                               (Model #)             PSI (Tested)
    7
    8               Homdox          AMD005217                 1300 PSI
                                     (PD001)
    9
                    Homdox          AMD005225                 850 PSI
   10                                (PD004)
   11               Homdox          AMD005226                 1300 PSI
   12                                (PD005)

   13               Homdox          AMD005231                 1300 PSI
                                     (PD007)
   14
                    Homdox          AMC005083                 950 PSI
   15                                (PD009)
   16
   17         Based upon these testing results, the Homdox pressures washers advertised
   18   for sale by Defendants on Amazon.com, as captured by Plaintiff on March 10th,
   19   were all in violation of the Court’s Permanent Injunction and Amended
   20   Permanent Injunction Orders.
   21
              Moreover, on April 19, 2022, after Defendants received the Homdox
   22
        pressure washer testing report from BV and provided Plaintiff with a copy of
   23
        same, Plaintiff directed the purchase of a Homdox pressure washer that was
   24
        advertised for sale on Amazon.com by Defendants under the account name
   25
        Homdox, with the ASIN B08W1N9H6P, and an advertised Maximum Pressure of
   26
        2950 Pound per Square Inch. See Sowers Decl. at ¶4, and Exhibits 10 - 11,
   27
        thereto. A copy of Defendants Homdox pressure washer listing under the account
   28
        name Homdox, with ASIN B08W1N9H6P, showing an advertised Maximum
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    1   Pressure of 2950 Pound per Square Inch is copied below:
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    3
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   15   The Homdox pressure washer purchased from Defendants through Amazon.com
   16   under the account name Homdox3 was received on April 21, 2022. See Sowers
   17   Decl. at ¶5, and Exhibit 12, thereto. The Homdox pressure washer received from
   18   Defendants included conflicting PSI claims affixed to a label on the product itself
   19   and included in an Instruction Manual shipped with the product as identified
   20   below:
   21       Product Label         Product Label PSI           Instruction Manual PSI
              Model No.                Claims                          Claims
   22
               (ASIN)
   23
            HD-AMC005083              P 2050 PSI              Rated pressure: 1050 PSI
   24       ( B08W1N9H6P)           Pmax. 2850 PSI            Max. Pressure: 1500 PSI
   25
   26
   27   3
         Defendants identified the same ASIN for Homdox pressure washer model
        number PD009 sold by Homdox on Amazon.com in the Declaration of Yong
   28   Shuai. See Pham Decl. at ¶4, and Exhibit 3, thereto (yellow highlight added to
        exhibit for emphasis).
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    1           As tested by BV, the highest allowable PSI claim that can be made for the
    2   Homdox pressure washer, with model number PD009, is 950 PSI. Despite this
    3   threshold, Defendants listed this Homdox pressure washer for sale on
    4   Amazon.com with an astronomical claimed 2950 PSI, affix a label to the pressure
    5   washer with a claimed 2050 PSI (Max. 2850 PSI), and include an Instruction
    6   Manual with this pressure washer with a represented rated 1050 PSI (Max. 1500
    7   PSI).    All three of these claimed PSI representations in advertising, on the
    8   product, and included within an Instruction Manual shipped with the product, are
    9   false. Moreover, the sheer level of contradiction relating to one model of Homdox
   10   pressure washer advertised for sale and sold by Defendants through Amazon.com
   11   is disturbing given the fact that Plaintiff settled its claims against Defendants
   12   almost six months ago.
   13                              III.   LEGAL STANDARD
   14           To establish a prima facie case for civil contempt, the moving party must
   15   show, “by clear and convincing evidence,” that the non-moving party disobeyed
   16   “a specific and definite court order,” and that such disobedience was “beyond
   17   substantial compliance” and “not based on a good faith and reasonable
   18   interpretation of the court’s order.” In re Dual-Deck Video Cassette Recorder
   19   Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993). “The contempt ‘need not be
   20   willful,’ and there is no good faith exception to the requirement of obedience to a
   21   court order.” Id. at 695 (quoting In re Crystal Palace Gambling Hall, Inc., 817
   22   F.2d 1361, 1365 (9th Cir. 1987); accord Stone v. City & Cty. of San Francisco,
   23   968 F.2d 850, 856 n.9 (9th Cir. 1992)(“Intent is irrelevant to a finding of civil
   24   contempt, and therefore, good faith is not a defense.”).
   25           If the moving party makes a prima facie case of contempt, the burden shifts
   26   to the non-moving party, the alleged contemnor, to demonstrate an inability to
   27   comply. Stone, 968 F.2d at 856 n.9. The non-moving party must demonstrate
   28   that it was unable to comply, despite taking all reasonable steps to do so. Id.
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    1   (citing Sekaquaptewa v. MacDonald, 544 F.2d 396, 406 (9th Cir. 1976)).
    2                                  IV.    ARGUMENT
    3         A.     Defendants are in Contempt of the Permanent
    4                Injunction and Amended Permanent Injunction Orders
    5         It is well settled that this Court has the inherent power to enforce its orders
    6   through civil contempt. Spallone v. United States, 493 U.S. 265, 276 (1990); Cal.
    7   Dep’t of Soc. Servs. v. Leavitt, 523 F.3d 1025, 1033 (9th Cir. 2008). As detailed
    8   above, there is no question that Plaintiff has satisfied its contemptuous conduct
    9   burden by clear and convincing evidence in showing that Defendants continue to
   10   use false or misleading description of fact or false or misleading representation of
   11   fact which misrepresent the PSI achievable by HOMDOX electric pressure
   12   washers manufactured, sold, or advertised by any of the Defendant in violation of
   13   this Court’s Permanent Injunction and Amended Permanent Injunction Orders.
   14         In order to make Defendants’ compliance with the Court’s Permanent
   15   Injunction and Amended Permanent Injunction Orders unequivocal, the Original
   16   Agreement and Amended Agreement between the parties spell out a common-
   17   sense pre-marketing third-party product testing procedure that Defendants must
   18   adhere to determine accurate PSI ratings for pressure washers advertised and sold
   19   under the HOMDOX®, HOMDOX™, MRLIANCE, SUYNCLL, or TEANDE
   20   names in the Unites States. The process is straight forward. If Defendants want to
   21   list a PSI rating for a pressure washer they manufacture, sell, or advertise for sale
   22   to consumers in the United States, they must first get the product tested to verify
   23   the accuracy of any PSI rating claims to be made. See Pham Decl. at ¶2, and
   24   Exhibit 1, thereto (specifically, paragraph 3.a.).
   25         On April 11, 2022, Defendants produced a copy of a testing report
   26   conducted for five models of Homdox pressure washers tested by BV under
   27   paragraph 3.a. of the Original Agreement. See Pham Decl. at ¶5, and Exhibit 4,
   28   thereto. The BV PSI testing results for these five models of Homdox pressure
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    1   washers are summarized below:
    2
    3                  Brand        Product SKU #       Highest Allowable PSI
                                      (Model #)               (Tested)
    4
                      Homdox         AMD005217                  1300 PSI
    5                                 (PD001)
    6                 Homdox         AMD005225                  850 PSI
    7                                 (PD004)

    8                 Homdox         AMD005226                  1300 PSI
                                      (PD005)
    9
                      Homdox         AMD005231                  1300 PSI
   10                                 (PD007)
   11                 Homdox         AMC005083                  950 PSI
   12                                 (PD009)

   13          Defendants cannot hide the fact that they continue to advertise for sale and
   14   sell Homdox pressure washers with PSI ratings that are grossly excessive to the
   15   testing results conducted by BV in connection with same.           Pursuant to the
   16   settlement terms, Defendants have identified their sales platforms, models
   17   numbers, and pressure washer brand names sold in the U.S. See Pham Decl. at ¶4
   18   and Exhibit 3, thereto. And, using the information Defendants provided under
   19   the settlement terms, Plaintiff has confirmed that Defendants continue to use
   20   grossly exaggerated PSI rating claims from Homdox pressure washers advertised
   21   for sale and sold through Amazon.com. See Sowers Decl. at ¶¶3-4, and Exhibits
   22   7 - 12, thereto.
   23          To illustrate, Defendants confirmed that they advertise for sale Homdox
   24   pressure washer model number PD009 on Amazon.com under the account name
   25   “Homdox” with the ASIN B08W1N9H6P. See Pham Decl. at ¶4, and Exhibit 3,
   26   thereto. The BV testing on Homdox pressure washer model number PD009
   27   confirmed a highest allowable PSI claim of 950. See Pham Decl. at ¶5, and
   28   Exhibit 4, thereto. Nonetheless, on April 19, 2022, Plaintiff purchased Homdox
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    1   pressure washer model number PD009 from Defendants through Amazon.com
    2   under the account name “Homdox” with the ASIN B08W1N9H6P and a
    3   maximum claim of 2950 PSI. See Sowers Decl. at ¶4, and Exhibits 10 - 11,
    4   thereto. This represents a 2000 PSI overage above the tested highest allowable
    5   claim of 950 PSI.    The Homdox pressure washer purchased and received from
    6   Defendants also includes conflicting PSI claims affixed to a label on the product
    7   itself and included in an Instruction Manual shipped with the product as identified
    8   below:
    9      Product Label          Product Label PSI           Instruction Manual PSI
             Model No.                 Claim                           Claim
   10
              (ASIN)
   11
          HD-AMC005083                P 2050 PSI              Rated pressure: 1050 PSI
   12     ( B08W1N9H6P)             Pmax. 2850 PSI            Max. Pressure: 1500 PSI
   13   See Sowers Decl. at ¶5, and Exhibit 12, thereto. Although conflicting, the PSI
   14   claims advertised by Defendants in connection with this Homdox pressure washer
   15   do have one thing in common – each PSI rating claim made in commerce is false
   16   and grossly excessive in comparison to the highest allowable claim of 950 PSI as
   17   tested by BV.
   18         B.    Defendants are in Breach of the Original Agreement
   19         This Court has been conferred with continuing jurisdiction to enforce the
   20   Agreement and Amended Agreement between the parties. In Kokkonen v.
   21   Guardian Life Ins. Co., the Court held that a proceeding to enforce a settlement
   22   requires its own basis of jurisdiction. Kokkonen v. Guardian Life Ins. Co., 511
   23   U.S. 375, 378 (1994). “Such a basis for jurisdiction may be furnished by separate
   24   provision (such as a provision retaining jurisdiction over the settlement
   25   agreement) or by incorporating the terms of the settlement agreement in the
   26   order.” Flanegan v. Arizona, 143 F.3d 540, 544 (9th Cir. 1998). Here, the Court’s
   27   Amended Permanent Injunction Order expressly states that, “This Court expressly
   28   retains jurisdiction over this matter to enforce any violation of the terms of this
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    1   Amended Permanent Injunction Against Defendants, and/or any breach of the
    2   Settlement Agreement and the Amended Settlement Agreement reached between
    3   the Parties.” See ECF Dkt. 54.
    4         The law guiding enforcement of the settlement is well-established. The
    5   settlement is a contract, Rufo v. Inmates of Suffolk County Jail, 502 U.S. 367, 378
    6   (1992), and is therefore generally construed and enforced as such. Jeff D. v.
    7   Andrus, 899 F.2d 753, 759 (9th Cir. 1989). The settlement is also an order of the
    8   Court and therefore a consent decree. Buckhannon Board & Care Home v. West
    9   Virginia Dep’t of Health and Human Resources, 532 U.S. 598, 604 (2001); see
   10   also Rufo, 502 U.S. at 378 (settlement “a judicial decree that is subject to the
   11   rules generally applicable to other judgments and decrees.”) The prospective
   12   provisions of the settlement operate as an injunction. Plummer v. Chemical Bank,
   13   668 F.2d 654, 659 (2nd Cir. 1982); see also Williams v. Vukovich, 720 F.2d 909,
   14   920 (6th Cir. 1983).
   15         Here, Defendants’ failure to abide by 3.e. of the Original Agreement
   16   (expanded in scope by paragraph 3. of the Amended Agreement) constitutes a
   17   contractual breach as well as contemptable prospective conduct in violation of the
   18   Court’s Permanent Injunction and Amended Permanent Injunction Orders.
   19   Defendants agreed to and were required to do the following:
   20
   21                “e.       Within twenty (20) calendar days of the Effective Date,
   22         Defendants shall retain a third-party monitoring service (the
   23         ‘Monitor’) that is mutually agreed to by the Parties to monitor the
   24         HOMDOX GROUP’s and third parties’ online listings of the
   25         HOMDOX GROUP’s electric pressure washers (the ‘Listings’). The
   26         DEFENDANTS shall authorize the Monitor to provide key word
   27         and/or image screening of Listings and to unilaterally take any action
   28         to remove Listings containing PSI ratings that are inconsistent with
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    1         the test results identified in paragraphs 3.a. and 3.b. or for washers
    2         that have not been tested as required in paragraphs 3.a. and
    3         DEFENDANTS shall immediately provide SNOW JOE a copy of
    4         DEFENDANTS’           signed    agreement    with     the    Monitor.
    5         DEFENDANTS will be jointly and severally liable for the Monitor’s
    6         costs and fees and maintain said services for at least two years
    7         following the Effective Date. DEFENDANTS will take any and all
    8         commercially reasonable actions to aid the Monitor’s third-party
    9         monitoring and enforcement efforts.” See Pham Decl. at ¶2, and
   10         Exhibit 1, thereto.
   11
   12         Retention of a third-party monitor is a critical component to Defendants
   13   efforts to remove advertised listings for their pressure washers by Defendants
   14   and, more importantly, third-parties when clearly false PSI claims are used in
   15   advertising online. Defendants agreed to this provision voluntarily. The effective
   16   date of the Original Agreement was November 7, 2021. More than five months
   17   have elapsed since the effective date of the Original Agreement, and Defendants
   18   have not provided any proof that they retained a third-party monitor. As such,
   19   Defendants are in breach of the Original Agreement, and this Court has
   20   jurisdiction to remedy this breach.
   21        V.    PLAINTIFF SEEKS COERSIVE AND COMPENSATORY
   22                                    SANCTIONS
   23         “A court may wield its civil contempt powers for two separate and
   24   independent purposes: (1) ‘to coerce the defendant into compliance with the
   25   court’s order’; and (2) ‘to compensate the complainant for losses sustained.’”
   26   Shell Offshore Inc. v. Greenpeace, Inc., 815 F.3d 623, 629 (9th Cir.
   27   2016)(quoting United States v. United Mine Workers of Am., 330 U.S. 258-303-
   28   04 (1947)). A finding of civil contempt against Defendants would serve a
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    1   coercive and compensatory purpose, and the Court should wield its civil
    2   contempt powers for both purposes here.
    3         Specifically, the Court should grant Plaintiff’s Motion for Contempt and
    4   to Enforce Settlement, and order Defendants to: 1) promptly comply with the
    5   terms of the Amended Permanent Injunction by discontinuing any further use in
    6   commerce of any false or misleading description of fact or false or misleading
    7   representation of fact which misrepresents the PSI achievable by electric
    8   pressure washers manufactured, sold, or advertised by any of the Defendants
    9   including, but not limited to, those currently or at any point in the past or future
   10   branded as HOMDOX®, HOMDOX™, MRLIANCE, SUYNCLL, or TEANDE
   11   (collectively, the “Pressure Washers”); 2) account for and pay to Plaintiff, as
   12   monetary sanctions, all profits received by Defendants from the sale of Pressure
   13   Washers in violation of the Amended Permanent Injunction; and 3) pay
   14   Plaintiff’s reasonable attorneys’ fees and costs incurred in connection with
   15   bringing this motion and enforcing the Settlement Agreement and Amended
   16   Settlement Agreement against Defendants.
   17         Paragraph 5 of Amended Settlement Agreement states that, “In the event
   18   that any Party breaches this the Original Agreement or this Amended
   19   Agreement, the accused Party shall pay all reasonable attorneys’ fees, costs and
   20   expenses incurred by the prevailing Party in any civil action relating to the
   21   enforcement of the Original Agreement, the Amended Agreement, the Amended
   22   Permanent Injunction, and/or any violation of any federal or state laws relating
   23   to trademark infringement, unfair competition, dilution, or any related claim.
   24   Each Party agrees that the remedies set forth in this Amended Agreement are in
   25   addition to any rights and remedies the other Party may have in the event of a
   26   breach or violation of this Amended Agreement, or any other laws, all of which
   27   rights and remedies are expressly reserved.” Since the date of the last signature
   28   on the Amended Agreement on February 17, 2022, Plaintiff has incurred
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    1   reasonable attorneys’ fees and costs in connection with enforcement of the
    2   Original Agreement, the Amended Agreement and the Amended Permanent
    3   Injunction Order totaling $12,192.25. See Pham Decl. at ¶8.
    4                               VI.    CONCLUSION
    5         For the foregoing reasons and in the manner set forth above, Plaintiff
    6   respectfully requests that the Court grant Plaintiff’s Motion for Contempt and to
    7   Enforce Settlement, and to order both the coercive and compensatory sanctions
    8   sought given Defendants clear and convincing contemptuous conduct.
    9
   10                                   Respectfully Submitted,
   11
        DATED: April 28, 2022           CRITERION COUNSEL, LAW
   12                                   CORPORATION
   13
   14                                   By: __/s/_Christopher Q. Pham_______
                                        Christopher Q. Pham, Esq.
   15
                                        Attorneys for Plaintiff
   16                                   SNOW JOE, LLC
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